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                                                        February 1, 2024

    Via PACER/ECF

    The Honorable Rukhsanah L. Singh, U.S.M.J.
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Courtroom 7W
    Trenton, New Jersey

                Re:        In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                           and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

    Dear Judge Singh:

           This Firm represents Beasley Allen and Andy D. Birchfield, Jr., Esq. (together Beasley
    Allen) in the Motion to Disqualify (the Federal Motion) filed by Johnson and Johnson (J&J) in
    this matter. See ECF No. 28760. Your Honor scheduled a hearing on the Federal Motion for
    February 7, 2024 at 2:00 p.m. J&J filed a nearly identical motion to disqualify Beasley Allen on
    December 8, 2023 (State Motion) 1 in the New Jersey state talcum powder MCL pending in the
    Superior Court of New Jersey, Atlantic County. The State Motion is currently pending before the
    Honorable John C. Porto, P.J.Cv. I write to inform Your Honor of recent developments in the State
    Motion before Judge Porto in advance of the February 7, 2024 hearing on the Federal Motion.




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                See Matter of In Re Talc Based Power Products Litig., Docket No. ATL-L-2648-15, MCL Case 300.
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            First, consistent with the ethical duty of candor to the Court and for the sake of judicial
    efficiency, we write to disclose significant developments that have taken place in the State Motion
    since Your Honor scheduled the Federal Motion hearing. The Federal Motion was fully briefed on
    December 29, 2023. Since that time, Judge Porto has held two oral arguments on January 17, 2024
    and January 23, 2024 in the State Motion. At Judge Porto’s request, the parties filed supplemental
    briefs and fact certifications that provide greater detail on issues related to both Motions.
    Yesterday, Judge Porto issued an order for a plenary hearing finding: (1) that the expanded record
    contains disputed material facts; and (2) a plenary hearing necessary to resolve the State Motion.
    The parties are currently discussing their availability for the plenary hearing. Should Your Honor
    want to review these papers, we will file them with this Court.

           Second, on January 29, 2024, the undersigned asked J&J’s counsel to provide any
    demonstratives that it plans to use at the February 7, 2024 hearing by close of business February
    5, 2024. In response, J&J is unwilling to commit to providing demonstratives in advance of the
    hearing. Trial by ambush is not permitted. Beasley Allen respectfully seeks the Court’s guidance
    and direction as to whether and/or when the parties should exchange any demonstratives and
    provide same to the Court. We wish to avoid “trial by ambush.”

           Thank you for your time and consideration of this matter.

                                                            Respectfully submitted,

                                                             /s/ Jeffrey M. Pollock

                                                            JEFFREY M. POLLOCK




    cc: All Counsel (via ECF)
